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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


   ISAAC A., et al.,
                                Plaintiffs,
                v.                            Civil Action No. 1:24-cv-00037-AT
   RUSSEL CARLSON, et al.,
                             Defendants.



    DEFENDANTS’ UNOPPOSED MOTION FOR EXTENSION OF TIME
        TO FILE REPLY IN SUPPORT OF MOTION TO DISMISS
           AND FOR LEAVE TO FILE ADDITIONAL PAGES

      Defendants filed a motion to dismiss on March 4, 2024 (Doc. 32). Plaintiffs

filed their response in opposition to Defendants’ motion to dismiss on April 1, 2024

(Doc. 39). In light of this Court’s April 3, 2024 order granting Defendants’ motion

for a 14-day extension (Doc. 40), Defendants’ reply brief is currently due April 29,

2024 and is limited to 30 pages in length. Defendants were prepared to file a reply

brief to Plaintiffs’ opposition consistent with this Court’s order.

      On April 22, 2024, the United States filed a 25-page Statement of Interest

(Doc. 41) supporting Plaintiffs. Defendants request an additional ten pages (for a

total of 40 pages) and a seven-day extension to file their reply, including and up to

Monday, May 6, 2024. The additional time and pages will allow Defendants to

fully respond to arguments by the United States, including ones that Plaintiffs did

not make. Plaintiffs do not oppose the relief sought in this motion.
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Dated: April 23, 2024                   Respectfully submitted,

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                            Attorneys for Defendants

                        CERTIFICATE OF SERVICE

     I certify that I filed this document through the CM/ECF system.

                                           /s/ Patrick Strawbridge
